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                                   6                                    UNITED STATES DISTRICT COURT
                                   7                                  NORTHERN DISTRICT OF CALIFORNIA
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                                  11       IN RE: LITHIUM ION BATTERIES                   Case No.: 13-MD-2420 YGR
                                           ANTITRUST LITIGATION
Northern District of California




                                  12                                                      ORDER SETTING COMPLIANCE HEARING RE
 United States District Court




                                                                                          MEDIATION
                                  13
                                           This Order Relates to:
                                  14
                                           All Direct and Indirect Purchaser
                                  15
                                           Actions

                                  16
                                               A compliance hearing regarding mediation shall be held on Friday, December 5, 2014 on
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                                       the Court’s 9:01 a.m. calendar, in the Federal Courthouse, 1301 Clay Street, Oakland, California,
                                  18
                                       Courtroom 1.
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                                               By November 25, 2014, the parties shall file either: (a) a stipulated notice selecting a

                                  21   mediator and proposing reasonable deadlines for mediation; or (b) a one-page JOINT STATEMENT

                                  22   setting forth an explanation for their failure to comply. If compliance is complete, the parties need

                                  23   not appear and the compliance hearing will be taken off calendar. Telephonic appearances will be

                                  24   allowed if the parties have submitted a joint statement in a timely fashion. Failure to do so may

                                  25   result in sanctions.

                                  26           IT IS SO ORDERED.

                                  27   Dated: October 31, 2014                          _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  28                                                        UNITED STATES DISTRICT COURT JUDGE
